                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA

 UNITED STATES OF AMERICA                        )
                                                 )
                                                 )
 v.                                              )       Case No. 1:06-CR-140
                                                 )
 VARIAN FORD                                     )       COLLIER/CARTER


                               REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 25, 2007.

 At the hearing, defendant entered a plea of guilty to Count One of the Indictment, to the extent it

 charges a conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1) and the

 lesser included offense of (b)(1)(C), in exchange for the undertakings made by the government in

 the written plea agreement. On the basis of the record made at the hearing, I find that the

 defendant is fully capable and competent to enter an informed plea; that the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; that it is made

 voluntarily and free from any force, threats, or promises, apart from the promises in the plea

 agreement; that the defendant understands the nature of the charge and penalties provided by law;

 and that the plea has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Indictment, to

 the extent it charges a conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 846,

 841(a)(1) and the lesser included offense of (b)(1)(C), be accepted, that the Court adjudicate

 defendant guilty of those charges as set forth in Count One of the Indictment, and that the written

 plea agreement be accepted at the time of sentencing. I further recommend that defendant be


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 taken into custody pending sentencing in this matter. Acceptance of the plea, adjudication of

 guilt, acceptance of the plea agreement, and imposition of sentence are specifically reserved for

 the district judge.

         The defendant’s sentencing date is scheduled for Thursday, October 4, 2007, at 9:00

 a.m.



 Dated: June 25, 2007                                 s/William B. Mitchell Carter
                                                      UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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